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       Exhibit 7
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                                          U.S. Patent No. 8,432,173 (“’173 Patent”)
Exemplary Accused Product

        Cypress products, including at least each of the following products (and their variations) infringe at least Claim 1 of the ’173
Patent: Capsense enabled Cypress products, including MBR3, CY8CMBR2110, CY8CMBR2044, CY8CMBR2016, CY8CMBR2010,
CY8CMBR3XXX, and Capsense-enabled PSoC. The infringement chart below is based on the Cypress CY8CMBR3106 with
CapSense (“CapSense”), which is exemplary of the infringement of the ’173 Patent.

                   Claim                                                             CapSense
 [1pre] A method comprising:                 The Capsense touchcontroller provides capacitive touch sensing functionality.




                                             See Getting Started with CapSense, at p. 10,
                                             https://www.cypress.com/file/41076/download




                                             See Getting Started with CapSense, at p. 12,
                                             https://www.cypress.com/file/41076/download



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              See Getting Started with CapSense, at p. 18,
              https://www.cypress.com/file/41076/download




              See PSoC 4 and PSoC 6 MCU CapSense Design Guide, at p. 15,
              https://www.cypress.com/file/46081/download




              See Getting Started with CapSense, at p. 20,
              https://www.cypress.com/file/41076/download




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              See CSA Software Filters with Ezl2Cs Slave on CY8C20xx6, at p. 10,
              https://www.cypress.com/file/137541/download




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[1a] receiving one or more first signals    The Capsense touchcontroller receives one or more first signals indicating one or more
indicating one or more first capacitive     first capacitive couplings of an object with a sensing element that comprises a sensing
couplings of an object with a sensing       path that comprises a length, the first capacitive couplings corresponding to the object
element that comprises a sensing path       coming into proximity with the sensing element at a first position along the sensing path
that comprises a length, the first          of the sensing element.
capacitive couplings corresponding to the
object coming into proximity with the       For example, the Capsense touchcontroller implements touch and movement
sensing element at a first position along   functionality where the user places a finger/stylus on the connected touch sensor and
                                            moves it along a path or line. When the user’s finger/stylus comes in contact with the
the sensing path of the sensing element
                                            touch sensor (“the object coming into proximity with the sensing element . . .”), one or
                                            capacitive couplings between the finger and the touch sensor is formed (“one or more
                                            capacitive couplings of an object with a sensing element . . .”). The Capsense
                                            touchcontroller receive one or more first signals indicating that the user places a
                                            finger/stylus on the touch sensor (“receiving one or more first signals indicating one or
                                            more first capacitive couplings of an object with a sensing element . . .”).




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              https://www.cypress.com/file/46366/download at 16.




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              capsense at 26.




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              capsense at 27.




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              https://www.cypress.com/documentation/application-notes/an64846-getting-started-
              capsense at 75.




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              capsense at 76.



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[1b] determining based on one or more of      The Capsense touchcontroller determines based on one or more of the first signals the
the first signals the first position of the   first position of the object along the sensing path. See, e.g., analysis and evidence in
object along the sensing path;                claim element 1[a] above.

                                              For example, at the beginning of a movement, the user’s finger/stylus (“object”) touches
                                              the touch sensor. The Capsense touchcontroller receives one or more first signals and
                                              determines the location where the user’s finger/stylus touched the touch sensor (“the
                                              first position of the object along the sensing path”).
                                              For example, the Capsense touchcontroller has functionality that track touch and
                                              movement, including receiving information about the location, size, and movement of a
                                              touch occurring on the screen. This also includes information for the view or window in
                                              which the touch occurred, the location of the touch within the view or window, and the
                                              approximate radius of the touch. This also includes information about indicating when
                                              the touch occurred, and information about whether the touch began, moved, or ended.




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              capsense at 78.




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              https://www.cypress.com/documentation/application-notes/an64846-getting-started-
              capsense at 79.




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[1c] setting a parameter to an initial value   The Capsense touchcontroller sets a parameter to an initial value based on the first
based on the first position of the object      position of the object along the sensing path, the initial value comprising a particular
along the sensing path, the initial value      parameter value and being associated with a range of parameter values, the range of
comprising a particular parameter value        parameter values being associated with the length of the sensing path.
and being associated with a range of
parameter values, the range of parameter       The Capsense touchcontroller sets a parameter to an initial value based on the first
values being associated with the length of     position of the object along the sensing path.
the sensing path;                              In the Capsense touchcontroller, the initial value comprises a particular parameter value
                                               and being associated with a range of parameter values, the range of parameter values
                                               being associated with the length of the sensing path.
                                               For example, the initial value comprises a particular parameter value or setting that can
                                               be adjusted, and is associated with a range of parameter values, e.g., the range of
                                               adjustment. Further, the range of parameter values or settings is associated with the
                                               length of a sensing path and can be adjusted along the length of that path.




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                                            https://www.cypress.com/file/46366/download at 16.

[1d] receiving one or more second signals   The Capsense touchcontroller receives one or more second signals indicating one or
indicating one or more second capacitive    more second capacitive couplings of the object with the sensing element, the second
couplings of the object with the sensing    capacitive couplings corresponding to a displacement of the object along the sensing
element, the second capacitive couplings    path from the first position. See, e.g., analysis and evidence in claim element 1[a]
corresponding to a displacement of the      above.
object along the sensing path from the
first position; and                         For example, the Capsense touchcontroller implements touch and movement
                                            functionality where the user places a finger/stylus on the touch sensor and moves it
                                            along a path or line. When the user’s finger/stylus moves along a path a line
                                            (“displacement of the object along the sensing path from the first position”), one or
                                            more capacitive couplings between the user’s finger/stylus and the touch sensor are
                                            formed (“the second capacitive couplings corresponding to a displacement . . .”).
                                            Further, the Capsense touchcontroller receives one or more signals indicating the


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              movement (“receiving one or more second signals indicating one or more second
              capacitive couplings of the object with the sensing element”).




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[1e] determining based on one or more of   The Capsense touchcontroller determines based on one or more of the second signals
the second signals the displacement of     the displacement of the object along the sensing path. See, e.g., analysis and evidence in
the object along the sensing path; and     claim elements 1[a] and 1[b] above.

                                           For example, as the user’s finger/stylus (“object”) moves in a line or path on the touch
                                           sensor (“the displacement of the object along the sensing path”), the Capsense
                                           touchcontroller receives one or more second signals that indicates the movement.
                                           For example, the Capsense touchcontroller has functionality that tracks touch and
                                           movement, including receiving information about the location, size, and movement of a
                                           touch occurring on the screen. This also includes information for the view or window in
                                           which the touch occurred, the location of the touch within the view or window, and the
                                           approximate radius of the touch. This also includes information about indicating when
                                           the touch occurred, and information about whether the touch began, moved, or ended.
[1f] adjusting the parameter within the    The Capsense touchcontroller adjusts the parameter within the range of parameter
range of parameter values based on the     values based on the displacement of the object along the sensing path. See, e.g., analysis
displacement of the object along the       and evidence in claim element 1[c] and 1[d] above.
sensing path.
                                           For example, based on the movement of the user’s finger/stylus along the sensing path,
                                           the Capsense touchcontroller adjusts the parameter within the range of parameter
                                           values.
                                           For example, the Capsense touchcontroller includes a particular parameter value or
                                           setting that can be adjusted, and is associated with a range of parameter values, i.e., the
                                           range of adjustment. Further, the range of parameter values or settings is associated with
                                           the length of a sensing path and can be adjusted along the length of that path.




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